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                         UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF WEST VIRGINIA


In re:                                              Chapter 11

DENNIS RAY JOHNSON, II
                                                    Case No. 3:16-bk-30227
         Debtor.




         OBJECTION OF MCCORMICK 101, LLC TO TRUSTEE’S MOTION TO
                            COMPROMISE

         For its objection to Trustee’s Motion for Authority to Compromise Pending Civil Action

Against People’s Bank, People’s Insurance Agency, LLC, Great American Insurance Company

of New York, and Zachary B. Burkons (Docket 1084) (“Motion to Compromise”), McCormick

101, LLC (“McCormick”) respectfully states as follows:

         1.     McCormick is the owner and holder of 21 loans which McCormick recently

purchased.

         2.     Debtor Dennis Ray Johnson, II (“Debtor”) is borrower or guarantor on all 21

loans.

         3.     The original principal balance on the 21 loans is $8,343,486. The current unpaid

principal balance on all 21 loans is approximately $5,393,609.

         4.     McCormick has reviewed the Debtors’ Objection to the Motion to Compromise

(Docket 1091). McCormick finds the reasoning in the Debtor’s objection to be compelling and

hereby joins in Debtors’ objection for all the reasons articulated by Debtor in its objection.
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          WHEREFORE, McCormick respectfully requests that the Motion to Compromise be

denied.

Dated: July 30, 2018                     Respectfully submitted,

                                         BUCHANAN INGERSOLL & ROONEY LLP

                                         /s/ Christopher P. Schueller
                                         Christopher P. Schueller (WV Bar No. 11267)
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                          UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA


In re:                                                 Chapter 11

Dennis Ray Johnson, II
       Debtor.                                         Case No. 3:16-bk-30227




                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 30, 2018, I caused a copy of the foregoing Objection of

McCormick 101, LLC to Trustee’s Motion to Compromise Assignment to be served electronically

via e-mail on the Debtor’s counsel, counsel for the Chapter 11 Trustee and the U.S. Trustee.

         I further certify that the original of the foregoing Motion was filed with the Court via the

Clerk's CM/ECF electronic filing system on July 30, 2018.



                                                               /s/ Christopher P. Schueller
                                                                       Counsel



4829-6528-9582, v. 1




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